 Case 13-02016-MBK Doc 31-3 Filed 05/08/14 Entered 05/08/14 11:40:19                      Desc
           Entry of Default against Defendant Sarah Banbury Page 1 of 1



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
FORMAN HOLT ELIADES & YOUNGMAN LLC
80 Route 4 East, Suite 290
Paramus, NJ 07652
(201) 845-1000
Attorneys for Catherine E. Youngman, Chapter 7
Trustee
Erin J. Kennedy (EJK-9227)
In Re:
                                                         Chapter 7
CANTELLO, LLC,
                   Debtor.                               Case No. 12-27005 (MBK)
CATHERINE E. YOUNGMAN,

                             Plaintiff,                  Adv. Proc. No. 13-2016 (MBK)
v.

THREAD UNION, LLC, et al.,

                            Defendant.

                               ENTRY OF DEFAULT AGAINST
                               DEFENDANT SARAH BANBURY

          In this case, the defendant, Sarah Banbury, has been served with process in accordance

with Rule 7004(b) of the Federal Rules of Bankruptcy Procedure, has failed to answer or otherwise

defend within the time allowed, and that time has run. Now, on application of Catherine E.

Youngman, the Chapter 7 trustee (the "Trustee") for Cantello, LLC (the "Debtor"), through her

attorneys, Forman Holt Eliades & Youngman LLC, default is entered against Sarah Banbury as

authorized by Rule 7055 of the Federal Rules of Bankruptcy Procedure and Rule 55(a) of the

Federal Rules of Civil Procedure incorporated therein.

                                              CLERK OF THE COURT
                                              UNITED STATES BANKRUPTCY COURT


                                              By:
                                                     James J. Waldron
Dated:


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